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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA

10   Erica Reiners, individually and on
     behalf of all others similarly situated,   Case No. 2:20-cv-06587-SB-ADS
11
                                Plaintiff,      [PROPOSED] ORDER GRANTING
12                                              MOTION TO COMPEL
     v.                                         COMPLIANCE WITH SUBPOENA
13
     Chou Team Realty, LLC d/b/a                Judge: Hon. Autumn D. Spaeth
14   MonsterLoans, a California limited
     liability company, Lend Tech Loans,
     Inc., a California corporation, Sean       Date: December 8, 2021
15                                              Time: 10:00 a.m.
     Cowell, an individual, Thomas Chou,
     an individual, Mikael Van Loon, an         Place: Courtroom 6B, 6th Floor
16
     individual, Jawad Nesheiwat, an            Complaint filed: July 23, 2020
17   individual, and Eduardo Martinez, an       Discovery Cutoff: December 23, 2021
     individual,
18
                                Defendants.
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20         Having considered Plaintiff Erica Reiners’s motion to compel compliance
21   with subpoena, the Court hereby Orders Sales Speek, Inc. to provide a complete
22   response to the subject subpoena.
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                                                       Autumn D. Spaeth
25                                               United States Magistrate Judge

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